Case 2:17-cv-05630-AB-KK Document 17 Filed 10/26/17 Page 1 of 18 Page ID #:208
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                        UNITED STATES DISTRICT COURT
  11                   CENTRAL DISTRICT OF CALIFORNIA
  12
       MARK PRADO                         Case No. 2:17−cv−05630−AB−KK
  13
                   Plaintiff(s),
  14                                      ORDER RE: JURY/COURT
           v.                             TRIAL
  15
       WAL−MART STORES, INC, et al.          I.     SCHEDULE
  16
                  Defendant(s).
                                             II.    TRIAL PREPARATION
  17
                                             III.   CONDUCT OF
  18
                                                    ATTORNEYS AND
  19
  20                                                PARTIES

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  1    I.   SCHEDULE

  2         The Scheduling Order governing this case is set forth in the Schedule of

  3    Pretrial and Trial Dates chart below. Whether this is a jury trial or court trial is

  4    indicated in the upper right hand box. If the parties wish to set additional dates,

  5    they may file a Stipulation and Proposed Order so seeking. This may be especially

  6    appropriate in class actions, patent cases, or cases for benefits under the Employee

  7    Retirement Income Security Act of 1974 (“ERISA”).

  8         Please refer to the Court’s Standing Order for requirements for specific

  9    motions, discovery, certain types of filings, courtesy copies, emailing signature

  10   items to chambers, alternative dispute resolution, and other matters pertaining to

  11   all cases.

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  1                                         JUDGE ANDRÉ BIROTTE JR.
                                      SCHEDULE OF PRETRIAL AND TRIAL DATES
  2
                        Trial and Final Pretrial Conference Dates                             Court Order
                                                                                              mm/dd/yyyy
  3
                                                                                          1/29/2019 at 8:30 a.m.
                                                                                     [ X ] Jury Trial
  4     Trial                                                                        [ ] Court Trial
                                                                                      5−7 Days
  5     Final Pretrial Conference (“FPTC”) [L.R. 16], Hearing on Motions In            1/11/2019 at 11:00 a.m.
        Limine
  6
                                     Event 1                              Weeks               Court Order
                 Note: Hearings shall be on Fridays at 10:00 a.m.         Before              mm/dd/yyyy
  7                 Other dates can be any day of the week.               FPTC

        Last Date to Hear Motion to Amend Pleadings /Add Parties                               8/10/2018
  8     [Friday]

  9     Non-Expert Discovery Cut-Off                                          17                9/3/2018

  10
        Expert Disclosure (Initial)                                                            8/31/2018
  11
        Expert Disclosure (Rebuttal)                                                           9/14/2018
  12
  13    Expert Discovery Cut-Off                                              12 2             10/9/2018

        Last Date to Hear Motions [Friday]
  14      • Rule 56 Motion due at least 5 weeks before hearing
          • Opposition due 2 weeks after Motion is filed                      12               10/19/2018
  15      • Reply due 1 week after Opposition is filed

                                                                                                  11/2/2018
  16    Deadline to Complete Settlement Conference [L.R. 16-15]                10    [ ] 1. Magistrate Judge
                                                                                     [ ] 2. Court’s Mediation Panel
                                                                                     [ X ] 3. Private Mediation
  17    Trial Filings (first round)
          • Motions in Limine
  18      • Memoranda of Contentions of Fact and Law [L.R. 16-4]
          • Witness Lists [L.R. 16-5]
          • Joint Exhibit List [L.R. 16-6.1]
  19      • Joint Status Report Regarding Settlement                           3               12/21/2018
          • Proposed Findings of Fact and Conclusions of Law [L.R. 52]
            (court trial only)
  20      • Declarations containing Direct Testimony, if ordered (court
            trial only)
  21
        Trial Filings (second round)
          • Oppositions to Motions In Limine
  22      • Joint Proposed Final Pretrial Conference Order [L.R. 16-7]
          • Joint/Agreed Proposed Jury Instructions (jury trial only)
          • Disputed Proposed Jury Instructions (jury trial only)
  23      • Joint Proposed Verdict Forms (jury trial only)                     2               12/28/2018
          • Joint Proposed Statement of the Case (jury trial only)
          • Proposed Additional Voir Dire Questions, if any (jury trial
  24        only)
          • Evidentiary Objections to Decls. of Direct Testimony (court
  25        trial only)


  26   1   The parties may seek dates for additional events by filing a separate Stipulation and Proposed
           Order. Class actions and patent and ERISA cases in particular may need to vary from the above.
  27   2   The parties may wish to consider cutting off expert discovery prior to the deadline for filing an MSJ.
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  1         A.       Deadlines for Motions.

  2         All motions must be noticed to be heard on or before their respective

  3    deadlines. All unserved parties will be dismissed at the time of the pretrial

  4    conference pursuant to Local Rule 16-8.1.

  5         B.       Discovery Cut-Off and Discovery Disputes

  6                  1.   Discovery Cut-off: The cut-off date for discovery is not the

  7    date by which discovery requests must be served; it is the date by which all

  8    discovery, including all hearings on any related motions, must be completed.

  9    Thus, written discovery must be served, and depositions must begin, sufficiently

  10   in advance of the discovery cut-off date to permit the discovering party enough

  11   time to challenge via motion practice responses deemed to be deficient. Given the

  12   requirements to meet and confer and to give notice, in most cases a planned motion

  13   to compel must be discussed with opposing counsel at least six weeks before the

  14   cut-off.

  15                 2.   Expert Cut-off: All expert disclosures must be made in writing.

  16   The parties should begin expert discovery shortly after the initial designation of

  17   experts. The final pretrial conference and trial dates will not be continued merely

  18   because expert discovery is not completed. Failure to comply with these or any

  19   other orders concerning expert discovery may result in the expert being excluded

  20   as a witness.

  21                 3.   Discovery Disputes: Counsel must use best efforts to resolve

  22   discovery problems among themselves in a courteous, reasonable and professional

  23   manner. Counsel must adhere to the Civility and Professionalism Guidelines at

  24   http://www.cacd.uscourts.gov/attorneys/admissions/civility-and-professionalism-

  25   guidelines.

  26                 4.   Discovery Motions: Discovery motions are handled by the

  27   Magistrate Judge assigned to the case. Any motion challenging the adequacy of

  28   discovery responses must be filed, served, and calendared sufficiently in advance


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  1    of the discovery cut-off date to permit the responses to be obtained before that

  2    date if the motion is granted.

  3         C.     Law and Motion and Local Rule 7-3

  4         The Court reminds the parties of their obligation under Local Rule 7-3 to

  5    meet and confer to attempt to resolve disputes before filing a motion. This Court

  6    also requires the parties to meet and confer on any other request for relief (except

  7    those identified in Local Rules 7-3 and 16-12).

  8         Please see the Standing Order for specific instructions regarding Motions to

  9    Dismiss, Motions to Amend, Motions for Summary Judgment, and other requests.

  10        D.     Settlement Conference/Alternative Dispute Resolution Procedures

  11        Pursuant to Local Rule 16-15, the parties in every case must participate in a

  12   Settlement Conference or Alternative Dispute Resolution (“ADR”) procedure.

  13   The Scheduling Order indicates the procedure the parties shall use. If the parties

  14   prefer an ADR procedure other than the one ordered by the Court, they shall file a

  15   Stipulation and Proposed Order. This request will not necessarily be granted.

  16        Counsel shall file a Joint Report regarding the outcome of settlement

  17   discussions, the likelihood of possible further discussions, and any help the Court

  18   may provide with regard to settlement negotiations, by 7 days after the settlement

  19   conference. No case will proceed to trial unless all parties, including the principals

  20   of all corporate parties, have appeared personally at a settlement conference.

  21        E.     Final Pretrial Conference/Proposed Final Pretrial Conference

  22                Order

  23        The Court has set a Final Pretrial Conference (“FPTC”) pursuant to Federal

  24   Rule of Civil Procedure 16 and Local Rule 16-8. THE COURT REQUIRES

  25   STRICT COMPLIANCE WITH FED. R. CIV. P. 16 AND 26, AND LOCAL

  26   RULE 16. Each party appearing in this action must be represented at the FPTC

  27   by the lead trial counsel for that party. Counsel must be prepared to discuss

  28   streamlining the trial, including presentation of testimony by deposition excerpts


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  1    or summaries, time limits, stipulations as to undisputed facts, and qualification of

  2    experts by admitted resumes.

  3         The parties must file a proposed Proposed Final Pretrial Conference Order

  4    (“Proposed FPTCO”) 2 weeks (14 days) before the FPTC. The parties must adhere

  5    to this deadline so chambers can prepare. A template for the Proposed FPTCO is

  6    available on Judge Birotte’s webpage. The parties MUST use this template.

  7         In specifying the surviving pleadings under section 1, state which claims or

  8    counterclaims have been dismissed or abandoned, e.g., “Plaintiff’s second cause

  9    of action for breach of fiduciary duty has been dismissed.” Also, in multiple-party

  10   cases where not all claims or counterclaims will be prosecuted against all remaining

  11   parties on the opposing side, please specify to which party each claim or counter-

  12   claim is directed.

  13        The parties must attempt to agree on and set forth as many uncontested facts

  14   as possible. The Court will usually read the uncontested facts to the jury at the start

  15   of trial. A carefully drafted and comprehensively stated stipulation of facts will

  16   shorten the trial and increase jury understanding of the case.

  17        In drafting the factual issues in dispute, the parties should attempt to state

  18   issues in ultimate fact form, not in the form of evidentiary fact issues. The issues

  19   of fact should track the elements of a claim or defense on which the jury will be

  20   required to make findings.

  21        Issues of law should state legal issues on which the Court will be required to

  22   rule during the trial and should not list ultimate fact issues to be submitted to the

  23   trier of fact.

  24        The parties shall email the Proposed FPTCO in Microsoft Word format to

  25   chambers at AB_Chambers@cacd.uscourts.gov.

  26   II. TRIAL PREPARATION

  27        THE PARTIES MUST STRICTLY COMPLY WITH LOCAL RULE 16.

  28   Pursuant to Local Rule 16-2, lead trial counsel for each party are required to meet


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  1    and confer in person 40 days in advance to prepare for the FPTC. Please review

  2    Local Rule 16-2. This Order sets forth some requirements different from or in

  3    addition to those set out in Local Rule 16. The Court may take the FPTC off

  4    calendar or impose other sanctions for failure to comply with these requirements.

  5         A.      Schedule for Filing Pretrial Documents for Jury and Court Trials

  6         All pretrial document copies shall be delivered to the Court “binder-ready”

  7    (three-hole punched on the left side, without blue-backs, and stapled only in the

  8    top left corner). Except for motions in limine, oppositions, the Joint Status Report

  9    Regarding Settlement, and Declarations containing direct testimony, Counsel shall

  10   email all of the above, including any amended documents, in Microsoft Word

  11   format to AB_Chambers@cacd.uscourts.gov.

  12        The schedule for filing pretrial documents is as follows:

  13             At least 3 weeks (21 days) before the Final Pretrial Conference:

  14                • Motions in Limine

  15                • Memoranda of Contentions of Fact and Law

  16                • Witness Lists

  17                • Joint Exhibit List

  18                • Joint Status Report Regarding Settlement

  19                • Proposed Findings of Fact and Conclusions of Law (court trial only)

  20                • Declarations containing Direct Testimony (court trial only)

  21             At least 2 weeks (14 days) before the Final Pretrial Conference:

  22                • Oppositions to Motions in Limine

  23                • Joint Proposed Final Pretrial Conference Order

  24                • Joint/Agreed Proposed Jury Instructions (jury trial only)

  25                • Disputed Proposed Jury Instructions (jury trial only)

  26                • Joint Proposed Verdict Forms (jury trial only)

  27                • Joint Statement of the Case (jury trial only)

  28                • Proposed Additional Voir Dire Questions, if any (jury trial only)


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  1                   • Evidentiary Objections to Declarations of Direct Testimony (court

  2                   trial only)

  3                   1. Motions in Limine

  4             Motions in limine will be heard and ruled on at the FPTC. The Court may

  5    rule on motions in limine orally only instead of in writing. All motions in limine

  6    must be filed at least 3 weeks (21 days) before the final pretrial conference;

  7    oppositions must be filed at least 2 weeks (14 days) before the final pretrial

  8    conference; there will be no replies. Motions in limine and oppositions must not

  9    exceed 10 pages in length.

  10            Before filing a motion in limine, counsel must meet and confer to determine

  11   whether opposing counsel intends to introduce the disputed evidence and to attempt

  12   to reach an agreement that would obviate the motion. Motions in limine should

  13   address specific issues (e.g., not “to exclude all hearsay”). Motions in limine

  14   should not be disguised motions for summary adjudication of issues. The Court

  15   may strike excessive or unvetted motions in limine.

  16                  2. Witness Lists

  17            Witness Lists must be filed 3 weeks (21 days) before the FPTC. They

  18   must be in the format specified in Local Rule 16-5, and must also include for

  19   each witness (i) a brief description of the testimony, (ii) what makes the testimony

  20   unique, and (iii) a time estimate in hours for direct and cross-examination

  21   (separately stated). Please follow the template posted to Judge Birotte’s webpage.

  22   Any Amended Witness List must be filed by 12:00 p.m. (noon) the Friday before

  23   trial.

  24                  3. Joint Exhibit List

  25            The Joint Exhibit List must be filed 3 weeks (21 days) before the FPTC.

  26   It must be in the format specified in Local Rule 16-6, and shall include an

  27   additional column stating any objections to authenticity and/or admissibility, and

  28   the reasons for the objections. Please follow the template posted to Judge Birotte’s


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  1    webpage. Any Amended Joint Exhibit List must be filed by 12:00 p.m. (noon) the

  2    Friday before trial.

  3                   4. Jury Instructions (jury trial only)

  4            Jury instructions must be filed no later than 2 weeks (14 days) prior to the

  5    FPTC. The parties shall make every attempt to agree upon jury instructions before

  6    submitting proposals to the Court. The Court expects counsel to agree on the

  7    substantial majority of jury instructions, particularly when pattern or model

  8    instructions provide a statement of applicable law. The parties shall meet and

  9    confer on jury instructions according to the following schedule:

  10         • 4 weeks (28 days) before FPTC: Counsel shall exchange proposed jury

  11           instructions (general and special)

  12         • 3 weeks (21 days) before FPTC: Counsel shall exchange any objections to the

  13           instructions

  14         • Until 2 weeks (14 days) before FPTC: Counsel shall meet and confer with the

  15           goal of reaching an agreement on one set of Joint/Agreed Jury Instructions.

  16         • 2 weeks (14 days) before FPTC: Counsel shall file their (1) Joint/Agreed

  17           Proposed Jury Instructions and their (2) Disputed Jury Instructions.

  18           If the parties disagree on any proposed jury instructions, they shall file:

  19   (i) 1 set of Joint/Agreed Proposed Jury Instructions to which all parties agree;

  20   and (ii) 1 set of Disputed Jury Instructions, which shall include a “redline” of any

  21   disputed language and/or the factual or legal basis for each party’s position as

  22   to each disputed instruction. Where appropriate, the disputed instructions shall be

  23   organized by subject, so that instructions that address the same or similar issues are

  24   presented sequentially. If there are excessive or frivolous disagreements over jury

  25   instructions or the special verdict form, the Court will order the parties to further

  26   meet and confer before trial and/or during trial until they substantially narrow their

  27   disagreements.

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   1                  Sources: When the Manual of Model Jury Instructions for the Ninth

   2    Circuit provides an applicable jury instruction, the parties should submit the most

   3    recent version, modified and supplemented to fit the circumstances of this case.

   4    Where California law applies, counsel should use the current edition of the

   5    Judicial Council of California Civil Jury Instructions (“CACI”). If neither applies,

   6    counsel should consult the current edition of O’Malley, et al., Federal Jury Practice

   7    and Instructions. Counsel may submit alternatives to these instructions only if there

   8    is a reasoned argument that they do not properly state the law or that they are

   9    incomplete. The Court seldom if ever gives instructions derived solely from cases.

   10                 Format: Each requested instruction shall (1) cite the authority or

   11   source of the instruction, (2) be set forth in full, (3) be on a separate page, (4) be

   12   numbered, (5) cover only one subject or principle of law, and (6) not repeat

   13   principles of law contained in any other requested instruction. If a standard

   14   instruction has blanks or offers options (i.e. “he/she”), the parties must fill in

   15   the blanks or make the appropriate selections in their proposed instructions.

   16                 Index: The Proposed Instructions must have an index that includes

   17   the following for each instruction, as illustrated in the example below:

   18                 • the number of the instruction;

   19                 • the title of the instruction;

   20                 • the source of the instruction and any relevant case citations; and

   21                 • the page number of the instruction.

   22   Example:

   23   Instruction
        Number              Title                       Source              Page Number
   24   1                   Trademark-Defined           9th Cir. 8.5.1           1
   25                       (15.U.S.C. § 1127)

   26        During the trial and before closing argument, the Court will meet with counsel
   27   to settle the instructions, and counsel will have an opportunity to make a further
   28   record concerning their objections.


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   1                5. Joint Verdict Forms (jury trial only)

   2         The parties shall make every attempt to agree upon a verdict form before

   3    submitting proposals to the Court. Counsel shall file a proposed verdict form(s)

   4    no later than 2 weeks (14 days) before the FPTC. If the parties are unable to agree

   5    on a verdict form, the parties shall file one document titled “Competing Verdict

   6    Forms” which shall include: (i) the parties’ respective proposed verdict form; (ii) a

   7    “redline” of any disputed language; and (iii) the factual or legal basis for each

   8    party’s respective position if the entire form is being disputed.

   9                6. Joint Statement of the Case (jury trial only)

   10        By 2 weeks (14 days) before the FPTC, counsel must file a Joint Statement

   11   of the Case for the Court to read to the panel of prospective jurors before

   12   commencement of voir dire. This should be a brief neutral statement no more

   13   than one page long.

   14               7. Voir Dire (jury trial only)

   15        The Court will conduct the voir dire. The Court asks prospective jurors basic

   16   questions (jurors’ place of residence, employment, whether familiar with the parties

   17   or counsel, etc.), and may ask additional case-specific questions. By 2 weeks

   18   (14 days) before the FPTC, counsel may, but are not required to, file proposed

   19   case-specific voir dire questions for the Court’s consideration.

   20        Generally, a jury consists of eight jurors. In most cases, the Court seats 16

   21   prospective jurors in the jury box and conducts its initial voir dire. Each side has 3

   22   peremptory challenges. If 16 jurors are seated in the box and all 6 peremptory

   23   challenges are exercised, the remaining 8 jurors will constitute the jury panel.

   24   If fewer than 6 peremptory challenges are exercised, the 8 jurors in the lowest

   25   numbered seats will be the jury. The Court will not necessarily accept a stipulation

   26   to a challenge for cause. If one or more challenges for cause are accepted, and all

   27   6 peremptory challenges are exercised, the Court may decide to proceed with 6 or

   28   7 jurors.


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   1                8. Proposed Findings of Fact and Conclusions of Law (court trial

   2                   only)

   3         For any trial requiring findings of fact and conclusions of law, counsel for

   4    each party shall, no later than 3 weeks (21 days) before the FPTC, file and serve

   5    on opposing counsel its Proposed Findings of Fact and Conclusions of Law in the

   6    format specified in Local Rule 52-3.

   7         The parties may submit Supplemental Proposed Findings of Fact and

   8    Conclusions of Law during the trial. Once trial concludes, the Court may order

   9    the parties to file Revised Proposed Findings of Fact and Conclusions of Law.

   10               9. Declarations for Direct Testimony (court trial)

   11        When ordered by the Court in a particular case, each party shall, at least 3

   12   weeks (21 days) before the FPTC, file declarations containing the direct testimony

   13   of each witness whom that party intends to call at trial. If such declarations are filed,

   14   each party shall file any evidentiary objections to the declaration(s) submitted by

   15   any other party by 2 weeks (14 days) before the FPTC. Such objections shall be

   16   submitted in the following three-column format: (i) the left column should contain

   17   a verbatim quote of each statement objected to (including page and line number);

   18   (ii) the middle column should set forth a concise objection (e.g., hearsay, lacks

   19   foundation, etc.) with a citation to the Fed. R. Evid. or, where applicable, a case

   20   citation; and (iii) the right column should provide space for the court’s ruling on

   21   the objection. The Court anticipates issuing its ruling on the objections the same

   22   date as the FPTC.

   23        B.     Trial Exhibits

   24        Trial exhibits that consist of documents must be submitted to the Court in

   25   three-ring binders. Counsel shall submit to the Court 1 original set of exhibit

   26   binders, and 2 copies: the original set shall be for the witnesses, and the 2 copies

   27   are for the Court. All exhibits must be placed in three-ring binders indexed by

   28   exhibit number with tabs or dividers on the right side. Exhibits shall be numbered


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   1    1, 2, 3, etc., not 1.1, 1.2, etc. The defendant’s exhibit numbers shall not duplicate

   2    plaintiff’s numbers. For all 3 sets of binders, the spine of each binder shall

   3    indicate the volume number and the range of exhibit numbers included in the

   4    volume.

   5         • The original set of exhibits shall have official exhibit tags (yellow tags for

   6              plaintiff’s exhibits, and blue tags for defendant’s exhibits) affixed to the

   7              front upper right-hand corner of the exhibit, with the case number, case

   8              name, and exhibit number stated on each tag. Tags may be obtained from

   9              the Clerk’s Office, or counsel may print their own exhibit tags using Forms

   10             G-14A and G-14B on the “Court Forms” section of the Court’s website.

   11        • The 2 sets of copies of the exhibits shall not have official exhibit tags but

   12             must be indexed with tabs or dividers on the right side.

   13        Counsel will review the exhibit list and the exhibit binders with the Courtroom

   14   Deputy Clerk (“CRD”) before the admitted exhibits are given to the jury.

   15        The Court provides audio/visual equipment for use during trial. More

   16   information is available at http://www.cacd.uscourts.gov/clerk-services/courtroom-

   17   technology. The Court does not permit exhibits to be “published” by passing them

   18   up and down the jury box. Exhibits may be displayed briefly using the screens in

   19   the courtroom, unless the process becomes too time-consuming.

   20        Counsel must meet and confer not later than 10 days before trial to stipulate as

   21   far as possible to foundation, to waiver of the best evidence rule, and to exhibits

   22   that may be received into evidence at the start of the trial. The exhibits to be so

   23   received will be noted on the Court’s copy of the exhibit list.

   24        C.        Materials to Present on First Day of Trial

   25        Counsel must present these materials to the CRD on the first day of trial:

   26                  1. The 3 sets of exhibit binders (1 original, 2 copies) described above.

   27                  2. Any deposition transcripts to be used at trial, either as evidence or

   28                     for impeachment. These lodged depositions are for the Court’s use;


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   1                    counsel must use their own copies during trial.

   2         D.      Court Reporter

   3         Any party requesting special court reporter services for any hearing (i.e., real

   4    time transmission, daily transcripts) shall notify the court reporter at least 2 weeks

   5    before the hearing date.

   6         E.      Jury Trial

   7         On the first day of trial, court will commence at 8:30 a.m. and conclude at

   8    approximately 4:30 p.m., with a 1-hour lunch break. Counsel must appear at 8:30

   9    a.m. to discuss preliminary matters with the Court. The Court will call a jury panel

   10   only when it is satisfied that the matter is ready for trial. Jury selection usually takes

   11   only a few hours. Counsel should be prepared to proceed with opening statements

   12   and witness examination immediately after jury selection.

   13        Fridays are usually reserved for the Court’s calendar, so generally there will

   14   not be trial on Fridays. Therefore, during the first week, trial days are generally

   15   Tuesday through Thursday. After the first week, trial days are generally Monday

   16   through Thursday. Trial days are from 9:00 a.m. to approximately 4:30 p.m., with

   17   two 15-minute breaks and a 1-hour lunch break.

   18   III. CONDUCT OF ATTORNEYS AND PARTIES

   19        A.      Meeting and Conferring Throughout Trial

   20        The parties must meet and confer on an ongoing basis throughout trial on

   21   all issues as they come up. The Court will not resolve any issue during trial unless

   22   and until the parties have attempted to resolve it themselves. The Court strictly

   23   enforces this rule.

   24        B.      Opening Statements, Examining Witnesses, and Summation

   25        Counsel must use the lectern. Counsel must not consume time by writing out

   26   words, drawing charts or diagrams, etc. Counsel may prepare such materials in

   27   advance. The Court will establish and enforce time limits for opening statements

   28   and closing arguments, and for examination of witnesses.


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   1         C.       Objections to Questions

   2         Counsel must not use objections to make a speech, recapitulate testimony, or

   3    attempt to guide the witness.

   4         When objecting, counsel must rise to state the objection and state only that

   5    counsel objects and the legal ground of objection. If counsel wishes to argue an

   6    objection further, counsel must ask for permission to do so.

   7         D.       General Decorum

   8                  1.    Counsel must not approach the CRD or the witness box

   9    without specific permission and must return to the lectern when the purpose

   10   for approaching has been accomplished.

   11                 2.    Counsel must rise when addressing the Court, and when the

   12   Court or the jury enters or leaves the courtroom, unless directed otherwise.

   13                 3.    Counsel must address all remarks to the Court. Counsel must

   14   not address the CRD, the court reporter, persons in the audience, or opposing

   15   counsel. Any request to re-read questions or answers shall be addressed to the

   16   Court. Counsel must ask the Court’s permission to speak with opposing counsel.

   17                 4.    Counsel must not address or refer to witnesses or parties by

   18   first names alone, with the exception of witnesses under 14 years old.

   19                 5.    Counsel must not offer a stipulation unless counsel have

   20   conferred with opposing counsel and have verified that the stipulation will be

   21   acceptable.

   22                 6.    While Court is in session, counsel must not leave counsel table

   23   to confer with any person in the back of the courtroom without the Court’s

   24   permission.

   25                 7.    Counsel must not make facial expressions, nod, shake their

   26   heads, comment, or otherwise exhibit in any way any agreement, disagreement,

   27   or other opinion or belief concerning the testimony of a witness. Counsel shall

   28   admonish their clients and witnesses not to engage in such conduct.


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   1                 8.      Counsel must never talk to jurors at all, and must not talk to

   2    co-counsel, opposing counsel, witnesses, or clients where the conversation can be

   3    overheard by jurors. Counsel should admonish their clients and witnesses to avoid

   4    such conduct.

   5                 9.      Where a party has more than one lawyer, only one may conduct

   6    the direct or cross-examination of a particular witness, or make objections as to that

   7    witness.

   8         E.      Promptness of Counsel and Witnesses

   9                 1.     Promptness is expected from counsel and witnesses. Once

   10   counsel are engaged in trial, this trial is counsel’s first priority. The Court will not

   11   delay the trial or inconvenience jurors.

   12                2.      If a witness was on the stand at a recess or adjournment,

   13   counsel who called the witness shall ensure the witness is back on the stand and

   14   ready to proceed when trial resumes.

   15                3.      Counsel must notify the CRD in advance if any witness should

   16   be accommodated based on a disability or for other reasons.

   17                4.      No presenting party may be without witnesses. If a party’s

   18   remaining witnesses are not immediately available and there is more than a brief

   19   delay, the Court may deem that party to have rested.

   20                5.      The Court attempts to cooperate with professional witnesses

   21   and generally accommodates them by permitting them to be called out of sequence.

   22   Counsel must anticipate any such possibility and discuss it with opposing counsel.

   23   If there is an objection, counsel must confer with the Court in advance.

   24        F.      Exhibits

   25                1.      Each counsel must keep counsel’s own list of exhibits and

   26   must note when each has been admitted into evidence.

   27                2.      Each counsel is responsible for any exhibits that counsel

   28   secures from the CRD and must return them before leaving the courtroom at the


                                                   16
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   1    end of the session.

   2                 3.       An exhibit not previously marked must, at the time of its first

   3    mention, be accompanied by a request that it be marked for identification. Counsel

   4    must show a new exhibit to opposing counsel before the court session in which it is

   5    mentioned.

   6                 4.       Counsel must advise the CRD of any agreements with respect

   7    to the proposed exhibits and as to those exhibits that may be received without

   8    further motion to admit.

   9                 5.       When referring to an exhibit, counsel must refer to its exhibit

   10   number. Witnesses should be asked to do the same.

   11                6.       Counsel must not ask witnesses to draw charts or diagrams,

   12   or ask the Court’s permission for a witness to do so. Any graphic aids must be fully

   13   prepared before the court session starts.

   14         G.     Depositions

   15                1.       In using depositions of an adverse party for impeachment,

   16   counsel may adhere to either one of the following procedures:

   17                         a.    If counsel wishes to read the questions and answers as

   18         alleged impeachment and ask the witness no further questions on that subject,

   19         counsel shall first state the page and line where the reading begins and the

   20         page and line where the reading ends, and allow time for any objection.

   21         Counsel may then read the portions of the deposition into the record.

   22                         b.     If counsel wishes to ask the witness further questions

   23         on the subject matter, the deposition shall be placed in front of the witness and

   24         the witness told to read the relevant pages and lines silently. Then counsel

   25         may either ask the witness further questions on the matter and thereafter read

   26         the quotations, or read the quotations and thereafter ask further questions.

   27         Counsel should have an extra copy of the deposition for this purpose.

   28   \\\


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   1                2.      Where a witness is absent and the witness’s testimony is

   2    offered by deposition, counsel may (a) have a reader occupy the witness chair and

   3    read the testimony of the witness while the examining lawyer asks the questions,

   4    or (b) have counsel read both the questions and the answers.

   5         H.     Using Numerous Answers to Interrogatories and Requests for

   6                Admission

   7         Whenever counsel expects to offer a group of answers to interrogatories or

   8    requests for admissions extracted from one or more lengthy documents, counsel

   9    should prepare a new document listing each question and answer and identifying

   10   the document from which it has been extracted. Copies of this new document

   11   should be given to the Court and opposing counsel.

   12        I.    Advance Notice of Unusual or Difficult Issues

   13        If any counsel anticipate that a difficult question of law or evidence will

   14   necessitate legal argument requiring research or briefing, counsel must give

   15   the Court advance notice. Counsel are directed to notify the CRD at the day’s

   16   adjournment if an unexpected legal issue arises that could not have been foreseen

   17   and addressed in advance. Counsel must also advise the CRD at the end of each

   18   trial day of any issues that must be addressed outside the presence of the jury

   19   so that there is no interruption of the trial. THE COURT WILL NOT KEEP

   20   JURORS WAITING.

   21
   22   Parties appearing pro se must comply with the Federal Rules of Civil

   23   Procedure and the Local Rules. See Local Rules 1-3 and 83-2.2.3.

   24
           IT IS SO ORDERED.
   25
   26 Dated: October 26, 2017
   27                                     HONORABLE ANDRÉ BIROTTE JR.
   28                                     UNITED STATES DISTRICT COURT JUDGE


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